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                      Exhibit 6
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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS,
                               EASTERN DIVISION

Protect Our Parks, Inc.; Charlotte Adelman;         )
Maria Valencia and Jeremiah Jurevis;                )       No. 18-cv-03424
              Plaintiffs,                           )
v.                                                  )       Honorable John Robert Blakey
                                                    )
Chicago Park District and City of Chicago,          )       Jury Demanded
             Defendants.                            )



      PLAINTIFFS’ SECOND REQUEST TO PRODUCE TO CITY OF CHICAGO

Now come the Plaintiffs, Protect Our Parks, Inc.; Charlotte Adelman; Maria Valencia and
Jeremiah Jurevis, through their undersigned attorneys, and pursuant to Rule 34 of the Federal
Rules of Civil Procedure request that the Defendant, City of Chicago, produce the following
documents, electronically stored information and tangible things at the law offices of Roth
Fioretti, CCL 311 S. Wacker Drive, Suite 2470, Chicago Illinois within 30 days from service of
this Request to Produce.


                                        DEFINITIONS

For purposes of this Request to Produce, the following definitions shall apply unless otherwise
specifically indicated:

1.    The word "document" shall mean any written or graphic matter or other means of
preserving thought or expression, and all tangible things from which information can be
processed or transcribed, including, but not limited to, correspondence, memoranda, notes,
messages, letters, electronic mail (emails), facsimiles, telegrams, teletyped messages, bulletins,
diaries, chronological data, minutes, books, reports, charts, ledgers, invoices, worksheets,
receipts, computer printouts, schedules, affidavits, contracts, transcripts, surveys, graphic
representations of any kind, photographs, graphs, microfilm, video tapes, tape recordings, motion
pictures or other film and all electronically stored information.

2. "Person" means any natural person or any legal entity, including, but not limited to, a
corporation, partnership and unincorporated association, and any officer, director, employee,
agent or other person acting or purporting to act on its behalf.

3.     "And" and "or" shall be construed disjunctively or conjunctively as necessary in order to
bring within the scope of each request all documents which might otherwise be construed to be
outside its scope.


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4.      "Each" includes both "each" and "every."

5.     The singular and masculine gender shall, respectively, include the plural and feminine
gender, and vice versa.

6.     "Relating to," "relates to," and “regarding” mean, without limitation, relating to,
concerning, constituting, mentioning, referring to, describing, summarizing, evidencing, listing,
relevant   to,    demonstrating,    tending      to    prove     or disprove,     or    explain.

7.      "Communication" or "communications" includes, without limitation, in-person or
telephone conversations, facsimiles, letters, electronic mail (email), telegrams, telexes, text
messages, tapes or other sound recordings, or other means of transmitting information from one
source to another.

                              REQUEST FOR PRODUCTION

Produce all of the following documents and tangible things in your possession, custody or
control related to:

1.      Any and all documents, including but not limited to lease agreements, use agreements,
        deeds, or other documents of any nature related to the terms and conditions under which
        the Adler Planetarium is operated in Burnham Park.
2.      Any and all documents, including but not limited to lease agreements, use agreements,
        deeds, or other documents of any nature related to the terms and conditions under which
        the Field Museum is operated in Burnham Park.
3.      Any and all documents, including but not limited to lease agreements, use agreements,
        deeds, or other documents of any nature related to the terms and conditions under which
        the John G. Shedd Aquarium is operated in Burnham Park.
4.      Any and all documents, including but not limited to lease agreements, use agreements,
        deeds, or other documents of any nature related to the terms and conditions under which
        the Art Institute of Chicago is operated in Grant Park.
5.      Any and all documents, including but not limited to lease agreements, use agreements,
        deeds, or other documents of any nature related to the terms and conditions under which
        the National Museum of Mexican Art is operated in Harrison Park.
6.      Any and all documents, including but not limited to lease agreements, use agreements,
        deeds, or other documents of any nature related to the terms and conditions under which
        the Institute of Puerto Rican Arts and Culture is operated in Humboldt Park.
7.      Any and all documents, including but not limited to lease agreements, use agreements,
        deeds, or other documents of any nature related to the terms and conditions under which
        the Museum of Science and Industry is operated in Jackson Park.
8.      Any and all documents, including but not limited to lease agreements, use agreements,
        deeds, or other documents of any nature related to the terms and conditions under which
        the Museum of Contemporary Art is operated in Lake Shore Park.

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9.      Any and all documents, including but not limited to lease agreements, use agreements,
        deeds, or other documents of any nature related to the terms and conditions under which
        the Peggy Notebaert Nature Museum is operated in Lincoln Park.
10.     Any and all documents, including but not limited to lease agreements, use agreements,
        deeds, or other documents of any nature related to the terms and conditions under which
        the Chicago History Museum is operated in Lincoln Park.
11.     Any and all documents, including but not limited to lease agreements, use agreements,
        deeds, or other documents of any nature related to the terms and conditions under which
        the DuSable Museum of African American History is operated in Washington Park.



                                            Respectfully submitted,

                                            /s/ Mark D. Roth
                                                Mark D. Roth




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                                   PROOF OF SERVICE

       I, Mark Roth, an attorney, certify that I served the Plaintiffs’ Second Request To
Produce to the City of Chicago by email transmission from mark@rothfioretti.com to the
following persons at their email addresses shown below on or before 5:00 pm. on October 30,
2018.




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                                                      /s/Mark Roth
                                                         Mark Roth

Mark Roth

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